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                        Exhibit G
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 DHS SCIENCE AND TECHNOLOGY
  Master Question List for
  COVID-19 (caused by
  SARS-CoV-2)
  Weekly Report
  09 June 2020


   For comments or questions related to the contents of this document, please contact the DHS S&T
   Hazard Awareness & Characterization Technology Center at HACTechnologyCenter@hq.dhs.gov.




DHS Science and Technology Directorate | MOBILIZING INNOVATION FOR A SECURE WORLD


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 REQUIRED INFORMATION FOR EFFECTIVE INFECTIOUS DISEASE OUTBREAK RESPONSE                           SARS-CoV-2 (COVID-19)
                                                                                                      Updated 6/09/2020

 FOREWORD

 The Department of Homeland Security (DHS) is paying close attention to the evolving Coronavirus
 Infectious Disease (COVID-19) situation in order to protect our nation. DHS is working very closely with
 the Centers for Disease Control and Prevention (CDC), other federal agencies, and public health officials
 to implement public health control measures related to travelers and materials crossing our borders
 from the affected regions.

 Based on the response to a similar product generated in 2014 in response to the Ebolavirus outbreak in
 West Africa, the DHS Science and Technology Directorate (DHS S&T) developed the following “master
 question list” that quickly summarizes what is known, what additional information is needed, and who
 may be working to address such fundamental questions as, “What is the infectious dose?” and “How
 long does the virus persist in the environment?” The Master Question List (MQL) is intended to quickly
 present the current state of available information to government decision makers in the operational
 response to COVID-19 and allow structured and scientifically guided discussions across the federal
 government without burdening them with the need to review scientific reports, and to prevent
 duplication of efforts by highlighting and coordinating research.

 The information contained in the following table has been assembled and evaluated by experts from
 publicly available sources to include reports and articles found in scientific and technical journals,
 selected sources on the internet, and various media reports. It is intended to serve as a “quick
 reference” tool and should not be regarded as comprehensive source of information, nor as necessarily
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  question-list-covid-19) or name of the document of the material (Master Question List for COVID-19) with which
  you are having difficulty, and your contact information.



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 Table of Contents
 Infectious Dose – How much agent will make a healthy individual ill? ..................................................................................... 3
    The human infectious dose of severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) is unknown by all exposure
    routes. SARS-CoV-2 is the cause of coronavirus disease 19 (COVID-19). Studies from other animal models are used as
    surrogates for humans.
    Identifying the infectious dose for humans by the various routes through which we become infected is critical to the
    effective development of computational models to predict risk, develop diagnostics and countermeasures, and effective
    decontamination strategies. Animal studies are a plausible surrogate.
 Transmissibility – How does it spread from one host to another? How easily is it spread? ...................................................... 4
    SARS-CoV-2 is passed easily between humans, likely through close contact with relatively large droplets and possibly through
    smaller aerosolized particles.
    Individuals can transmit SARS-CoV-2 to others before they have symptoms.
    Undetected cases play a major role in transmission, and most cases are not reported.
    Individuals who have recovered clinically, but test positive, appear unable to transmit COVID-19.
    Identifying the contribution of asymptomatic or pre-symptomatic transmission is important for implementing control
    measures. Additionally, the relative contributions of different infection sources – fomites, droplets, aerosols, and potentially
    feces – are unknown.
 Host Range – How many species does it infect? Can it transfer from species to species? ......................................................... 5
    SARS-CoV-2 is closely related to other coronaviruses circulating in bats in Southeast Asia. Previous coronaviruses have
    passed through an intermediate mammal host before infecting humans, but the identity of the SARS-CoV-2 intermediate
    host is unknown.
    SARS-CoV-2 uses the same receptor for cell entry as the SARS-CoV-1 coronavirus that circulated in 2002/2003.
    To date, ferrets, mink, hamsters, cats, and primates have been shown to be susceptible to SARS-CoV-2 infection. It is
    unknown whether these animals can transmit infection to humans.
    Several animal models have been developed to recreate human-like illness, though to date they have been infected with
    high dose exposures. Lower dose studies may better replicate human disease acquisition.
 Incubation Period – How long after infection do symptoms appear? Are people infectious during this time? .......................... 6
    The majority of individuals develop symptoms within 14 days of exposure. For most people, it takes at least 2 days to
    develop symptoms, and on average symptoms develop 5 days after exposure. Incubating individuals can transmit disease for
    several days before symptom onset. Some individuals never develop symptoms but can still transmit disease.
    The incubation period is well-characterized. Patients may be infectious, however, for days before symptoms develop.
 Clinical Presentation – What are the signs and symptoms of an infected person? ................................................................... 7
    Many COVID-19 cases are asymptomatic. Most symptomatic cases are mild, but severe disease can be found in any age
    group.6 Older individuals and those with underlying medical conditions are at higher risk of serious illness and death.
    The case fatality rate varies substantially by patient age and underlying comorbidities.
    Additional studies on vulnerable subpopulations are required.
    Children are susceptible to COVID-19,124 though generally show milder83, 261 or no symptoms.
    The true case fatality rate is unknown, as the exact number of cases is uncertain. Testing priorities and case definitions vary
    by location. The proportion of asymptomatic infections is not known.
 Protective Immunity – How long does the immune response provide protection from reinfection? ........................................ 8
    Infected patients show productive immune responses, however more data is needed.
    Currently, there is no evidence that recovered patients can be reinfected with SARS-CoV-2.
    Understanding the duration of protective immunity is limited by small sample sizes. Animal models are plausible surrogates.
    Additional research to quantify the risk of reinfection after weeks, months, and years is needed.
 Clinical Diagnosis – Are there tools to diagnose infected individuals? When during infection are they effective? .................... 9
    Diagnosis relies on identifying the genetic signature of the virus in patient nose, throat, or sputum samples. These tests are
    relatively accurate. Confirmed cases are still underreported.
    Validated serological (antibody) assays are being developed to help determine who has been exposed to SARS-CoV-2.
    Serological evidence of exposure does not indicate immunity.



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    In general, PCR tests appear to be sensitive and specific, though confirmation of symptoms via chest CT is recommended.
    The sensitivity and specificity of serological testing methods is variable, and additional work needs to be done to determine
    factors that affect test accuracy.
 Medical Treatments – Are there effective treatments?...........................................................................................................10
    Treatment for COVID-19 is primarily supportive care including ventilation if necessary. 163, 273 Numerous clinical trials are
    ongoing. Several drugs show efficacy.
    Remdesivir shows promise for reducing symptom duration in humans.36
    Hydroxychloroquine is associated with elevated risk of cardiac arrhythmias and provides limited to no clinical benefit at this
    point in time. Large, randomized clinical trial results are necessary.
    Other pharmaceutical interventions are being investigated.
    Additional information on treatment efficacy is required, particularly from randomized clinical trials.
 Vaccines – Are there effective vaccines?.................................................................................................................................11
    Work is ongoing to develop a SARS-CoV-2 vaccine in human and animal trials. Early results are being released, but evidence
    should be considered preliminary until larger trials are completed.
    Published results from randomized clinical trials (Phase I – III) are needed.
 Non-pharmaceutical Interventions – Are public health control measures effective at reducing spread? .................................12
    Broad-scale control measures such as stay-at-home orders are effective at reducing movement and contact rates, and
    modeling shows evidence that they reduce transmission.
    Research is needed to help plan for easing of restrictions.
    As different US states have implemented differing control measures at various times, a comprehensive analysis of social
    distancing efficacy has not yet been conducted.
 Environmental Stability – How long does the agent live in the environment? .........................................................................13
    SARS-CoV-2 can persist on surfaces for at least 3 days and on the surface of a surgical mask for up to 7 days depending on
    conditions. If aerosolized intentionally, SARS-CoV-2 is stable for at least several hours. The seasonality of COVID-19
    transmission is unknown. SARS-CoV-2 on surfaces is inactivated rapidly with sunlight.
    Additional testing on SARS-CoV-2, as opposed to surrogate viruses, is needed to support initial estimates of stability.
 Decontamination – What are effective methods to kill the agent in the environment? ..........................................................14
    Soap and water, as well as common alcohol and chlorine-based cleaners, hand sanitizers, and disinfectants are effective at
    inactivating SARS-CoV-2 on hands and surfaces.
    Methods for decontaminating N95 masks have been approved by the FDA under an Emergency Use Authorization (EUA).
    Additional decontamination studies, particularly with regard to PPE and other items in short supply, are needed.
 PPE – What PPE is effective, and who should be using it? .......................................................................................................15
    The effectiveness of PPE for SARS-CoV-2 is currently unknown, and data from other related coronaviruses are used for
    guidance. Healthcare workers are at high risk of acquiring COVID-19, even with recommended PPE.
    Most PPE recommendations have not been made on SARS-CoV-2 data, and comparative efficacy of different PPE for
    different tasks (e.g., intubation) is unknown. Identification of efficacious PPE for healthcare workers is critical due to their
    high rates of infection.
 Forensics – Natural vs intentional use? Tests to be used for attribution. ................................................................................16
    All current evidence supports the natural emergence of SARS-CoV-2 via a bat and possible intermediate mammal species.
    Identifying the intermediate species between bats and humans would aid in reducing potential spillover from a natural
    source. Wide sampling of bats, other wild animals, and humans is needed to address the origin of SARS-CoV-2.
 Genomics – How does the disease agent compare to previous strains? ..................................................................................17
    Current evidence suggests that SARS-CoV-2 accumulates substitutions and mutations at a similar rate as other
    coronaviruses. Mutations and deletions in specific portions of the SARS-CoV-2 genome have not been linked to any changes
    in transmission or disease severity, though modeling work is attempting to identify possible changes.
    Research linking genetic changes to differences in phenotype (e.g., transmissibility, virulence, progression in patients) is
    needed.
 Forecasting – What forecasting models and methods exist? ...................................................................................................18
    Forecasts differ in how they handle public health interventions such as shelter-in-place orders and tracking how methods
    change in the near future will be important for understanding limitations going forward.




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 REQUIRED INFORMATION FOR EFFECTIVE INFECTIOUS DISEASE OUTBREAK RESPONSE                              SARS-CoV-2 (COVID-19)
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   SARS-CoV-2
                                Infectious Dose – How much agent will make a healthy individual ill?
   (COVID-19)
  What do we      The human infectious dose of severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) is
  know?           unknown by all exposure routes. SARS-CoV-2 is the cause of coronavirus disease 19 (COVID-19).
                  Studies from other animal models are used as surrogates for humans.
                  Non-human primates
                  • A total dose of approximately 700,000 plaque-forming units (PFU) of the novel coronavirus SARS-CoV-
                     2 infected cynomolgus macaques via combination intranasal and intratracheal exposure (106 TCID50
                     total dose).348 Macaques did not exhibit clinical symptoms, but shed virus from the nose and throat.348
                  • Rhesus and cynomolgus macaques showed mild to moderate clinical infections at doses of 4.75x106
                     PFU (SARS-CoV-2 delivered through several routes), while common marmosets developed mild
                     infections when exposed to 1.0x106 PFU intranasally.260
                  • Rhesus macaques are effectively infected with SARS-CoV-2 via the ocular conjunctival and
                     intratracheal route at a dose of approximately 700,000 PFU (106 TCID50).120 Rhesus macaques infected
                     with 2,600,000 TCID50 of SARS-CoV-2 by the intranasal, intratracheal, oral and ocular routes combined
                     recapitulate moderate disease observed in the majority of human cases. 295
                  • African green monkeys developed symptoms consistent with severe human disease when exposed to
                     500,000 PFU of SARS-CoV-2 via the intranasal and intratracheal routes.426
                  Rodents
                  • Golden Syrian hamsters exposed to 80,000 TCID50 (~56,000 PFU) via the intranasal route developed
                     clinical symptoms reminiscent of mild human infections (all hamsters infected). 368
                  • Golden Syrian hamsters infected with 100,000 PFU via the intranasal route closely resemble human
                     respiratory infection. Uninfected hamsters in close contact with infected hamsters show symptoms
                     within 4 days of exposure.79
                  • Mice genetically modified to express the human ACE2 receptor (transgenic hACE2 mice) were
                     inoculated intranasally with 100,000 TCID50 (~70,000 PFU), and all mice developed pathological
                     symptoms consistent with COVID-19.31
                  • Transgenic (hACE2) mice became infected after timed aerosol exposure (36 TCID50/minute) to
                     between 900 and 1080 TCID50 (~630-756 PFU). All mice (4/4) exposed for 25-30 minutes became
                     infected, while no mice (0/8) became infected after exposure for 0-20 minutes (up to 720 TCID50, ~504
                     PFU).32 Key methodological details (e.g., particle size, quantification of actual aerosol dose) are missing
                     from the study’s report.
                  • Transgenic (hACE2) mice exposed intranasally to 400,000 PFU of SARS-CoV-2 develop clinical and
                     pathological symptoms seen in humans.378
                  Other animal models
                  • Ferrets infected with 316,000 TCID50209 or 600,000 TCID50341 of SARS-CoV-2 by the intranasal route
                     show similar symptoms to human disease.209, 341 Uninfected ferrets in direct contact with infected
                     ferrets test positive and show disease as early as 2 days post-contact.209 In one study, direct contact
                     was required to transfer infection between ferrets,209 however, transmission without direct contact
                     was found in another study.341
                  • In a ferret study, 1 in 6 individuals exposed to 102 PFU via the intranasal route became infected, while
                     12 out of 12 individuals exposed to >104 PFU became infected.354
                  • Domestic cats exposed to 100,000 PFU of SARS-CoV-2 via the intranasal route developed severe
                     pathological symptoms including lesions in the nose, throat, and lungs.366 In a separate study, infected
                     cats showed no clinical signs, but were able to shed virus and transmit to other cats. 46
                  Related Coronaviruses
                  • The infectious dose for severe acute respiratory syndrome coronavirus 1 (SARS-CoV-1) in mice is
                     estimated to be between 67-540 PFU (average 240 PFU, intranasal route).116, 118
                  • Genetically modified mice expressing DPP4 exposed intranasally to doses of Middle East respiratory
                     syndrome coronavirus (MERS-CoV) between 100 and 500,000 PFU show signs of infection. Infection
                     with higher doses result in severe syndromes.14, 101, 237, 460
  What do we      Identifying the infectious dose for humans by the various routes through which we become infected is
  need to know?   critical to the effective development of computational models to predict risk, develop diagnostics and
                  countermeasures, and effective decontamination strategies. Animal studies are a plausible surrogate.
                  • Human infectious dose by aerosol, surface contact (fomite), fecal-oral routes, and other potential
                    routes of exposure
                  • Most appropriate animal model(s) to estimate the human infectious dose for SARS-CoV-2



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   SARS-CoV-2
                    Transmissibility – How does it spread from one host to another? How easily is it spread?
   (COVID-19)
  What do we      SARS-CoV-2 is passed easily between humans, likely through close contact with relatively large
  know?           droplets and possibly through smaller aerosolized particles.
                  • Pandemic COVID-19 has caused 7,145,847 infections and 407,067 deaths196 in at least 188 countries
                     and territories (as of 6/9/2020).69, 361, 420 In the US there are 1,961,187 confirmed COVID-19 cases
                     across all 50 US states, with 111,007 deaths (as of 6/9/2020).196
                  • Initial high-quality estimates of human transmissibility (R0) range from 2.2 to 3.1.270, 318, 344, 432, 459
                     Based on contact tracing of 1,058 cases in Hong Kong, the number of cases linked to superspreading
                     events (1 person infects >6-8 people) for COVID-19 is estimated to be similar to other pathogens.11
                  • SARS-CoV-2 is believed to spread through close contact and droplet transmission,73 with fomite
                     transmission likely199 and close-contact aerosol transmission plausible52, 162 but unconfirmed.418
                  • SARS-CoV-2 replicates in the upper respiratory tract,176 and infectious virus is detectable in throat and
                     lung tissue for at least 8 days.423 Studies of autopsied lung tissue176 and clinical studies of COVID-19
                     patients314 support aspiration as a means by which SARS-CoV-2 reaches the deep lung. SARS-CoV-2
                     RNA has been found in semen from both clinically symptomatic and recovered cases,236 however, the
                     infectiousness and the possibility of sexual transmission is unknown. Infectious SARS-CoV-2 has been
                     cultured from patient feces.436
                  • Contamination of patient rooms with aerosolized SARS-CoV-2 in the human respirable range (0.25-2.5
                     μm) indicates the potential for airborne transmission.255 Viral RNA was detected up to 4 meters from
                     ICU patient beds.164 To date infectious virus has not been isolated from aerosol samples. 358
                  • SARS-CoV-2 may be spread by conversation and exhalation.9, 235, 358, 373 A preliminary study in China
                     detailing a restaurant-associated outbreak supports transmission via aerosol.244
                  • Experimentally infected ferrets were able to transmit SARS-CoV-2 to other ferrets by both direct
                     contact (another ferret in same enclosure) as well as through the air (ferrets in an adjacent enclosure,
                     separated by 10 cm).341 Similar results have been documented in transgenic mice.32
                  • Evidence suggests that SARS-CoV-2 is not transmitted to infants during birth.85, 90, 93, 360, 444, 448
                  Individuals can transmit SARS-CoV-2 to others before they have symptoms.
                  • Individuals may be infectious for 1-3 days prior to symptom onset,408 and culturable virus has been
                     found in individuals up to 6 days prior to symptom onset. 24 Pre-symptomatic44, 372, 376, 462 or
                     asymptomatic29, 181, 264 patients can transmit SARS-CoV-2. At least 12% of all cases are estimated to be
                     due to asymptomatic transmission.126 It has been estimated that 23%,252 44%,171 or as much as 56%65
                     of infections may be caused by pre-symptomatic transmission. Individuals are most infectious before
                     symptoms began and within 5 days of symptom onset,92 and pre-symptomatic individuals contribute
                     to environmental contamination.197
                  • In China, it is estimated that infected individuals transmit COVID-19 to between 11.2%42 and 16.3%241
                     of household contacts, though even more may lack symptoms.264 In New York, 38% of household
                     contacts of infected patients became infected, with the proportion increasing with age (20% for
                     contacts <5 years old, 55% for >65 years old).349 On a cruise ship, 59% of individuals on board tested
                     positive for COVID-19, though the initial number infected was unknown.189
                  Undetected cases play a major role in transmission, and most cases are not reported.
                  • Models suggest up to 86% of early COVID-19 cases in China were undetected, and these infections
                     were the source for 79% of reported cases.240
                  • Models estimate that the true number of cases may be approximately 11 times greater than the
                     reported number of cases in the UK,445 and 5 to 10 times greater than the reported number of cases in
                     the US.200, 353 Preliminary estimates of the case reporting rate vary widely among countries, from
                     roughly 1 reported case for every 3 actual cases (in Germany), to 1 in 149 (in China).215
                  Individuals who have recovered clinically, but test positive, appear unable to transmit COVID-19.
                  • Epidemiological investigations by the Korean CDC suggest that individuals who have clinically
                     recovered from COVID-19, but later show PCR positive tests, are not infectious.207
  What do we      Identifying the contribution of asymptomatic or pre-symptomatic transmission is important for
  need to know?   implementing control measures. Additionally, the relative contributions of different infection sources
                  – fomites, droplets, aerosols, and potentially feces – are unknown.
                  • Capability of SARS-CoV-2 to be transmitted by contact with fomites (phones, doorknobs, surfaces,
                     clothing, etc.) – see also Experimental Stability
                  • Is sexual transmission possible?



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   SARS-CoV-2
                     Host Range – How many species does it infect? Can it transfer from species to species?
   (COVID-19)
  What do we      SARS-CoV-2 is closely related to other coronaviruses circulating in bats in Southeast Asia. Previous
  know?           coronaviruses have passed through an intermediate mammal host before infecting humans, but the
                  identity of the SARS-CoV-2 intermediate host is unknown.
                  • Early genomic analysis indicates similarity to SARS-CoV-1,466 with a suggested bat origin.103, 466
                  • Positive samples from the South China Seafood Market strongly suggests a wildlife source,75 though it
                     is possible that the virus was circulating in humans before the disease was associated with the
                     seafood market.35, 104, 438, 449
                  • Analysis of SARS-CoV-2 genomes suggests that a non-bat intermediate species is responsible for the
                     beginning of the outbreak.347 The identity of the intermediate host remains unknown. 243, 247, 249
                  • Viruses similar to SARS-CoV-2 were present in pangolin samples collected several years ago. 224
                  SARS-CoV-2 uses the same receptor for cell entry as the SARS-CoV-1 coronavirus that circulated in
                  2002/2003.
                  • Experiments show that SARS-CoV-2 Spike (S) receptor-binding domain binds the human cell receptor
                     (ACE2) stronger than SARS-CoV-1,428 potentially explaining its high transmissibility. The same work
                     suggests that differences between SARS-CoV-2 and SARS-CoV-1 Spike proteins may limit the
                     therapeutic ability of SARS antibody treatments. 428
                  • Modeling of SARS-CoV-2 Spike and ACE2 proteins suggests that SARS-CoV-2 can bind and infect
                      human, bat, civet, monkey and swine cells.400 Host range predictions based on structural modeling,
                      however, are difficult,146 and additional animal studies are needed to better define the host range.
                  • In vitro experiments suggest a broad host range for SARS-CoV-2, with more than 44 potential animal
                      hosts, based on viral binding to species-specific ACE2 orthologs.253 The host range is predicted to be
                      limited primarily to mammals.
                  • Genetic and protein analysis of primates suggests that African and Asian primates are likely more
                     susceptible to SARS-CoV-2, while South and Central American primates are likely less susceptible.283
                     Identifying the SARS-CoV-2 host range is important for identifying animal reservoirs.
                  • Changes in proteolytic cleavage of the Spike protein can also affect cell entry and animal host range,
                     in addition to receptor binding.284
                  To date, ferrets, mink, hamsters, cats, and primates have been shown to be susceptible to SARS-CoV-2
                  infection. It is unknown whether these animals can transmit infection to humans.
                  • Animal model studies suggest that Golden Syrian hamsters, primates, and ferrets may be susceptible
                     to infection.79, 209 In the Netherlands, farmed mink developed breathing and gastrointestinal issues,
                     which was diagnosed as SARS-CoV-2 infection.2 It is thought that an infected mink has transmitted
                     SARS-CoV-2 to a human.217 Golden Syrian hamsters are able to infect other hamsters via direct
                     contact and close quarters aerosol transmission.368
                  • Domestic cats are susceptible to infection with SARS-CoV-2 (100,000-520,000 PFU via the intranasal
                     route366 or a combination of routes165), and can transmit the virus to other cats via droplet or short-
                     distance aerosol.366 Dogs exposed to SARS-CoV-2 produced anti-SARS-CoV-2 antibodies46 but
                     exhibited no clinical symptoms.366, 369
                  • Wild cats (tigers)407 can be infected with SARS-CoV-2, although their ability to spread to humans is
                     unknown.271, 456 Two cases have been confirmed of pet domestic cats infected with SARS-CoV-2.68
                  • Ducks, chickens, and pigs remained uninfected after experimental SARS-CoV-2 exposure (30,000 CFU
                      for ducks and chickens, 100,000 PFU for pigs, all via intranasal route). 366 There is currently no
                      evidence that SARS-CoV-2 infects livestock,187 though modeling suggests sheep, cows, pigs, and goats
                      may be susceptible to infection by SARS-CoV-2.223
                  • Pigs and chickens were not susceptible to SARS-CoV-2 infection when exposed to an intranasal dose
                      of 105 TCID50 (~70,000 PFU), confirmed by lack of positive swab and tissue samples.147 Fruit bats and
                      ferrets were susceptible to this same exposure.147
  What do we      Several animal models have been developed to recreate human-like illness, though to date they have
  need to know?   been infected with high dose exposures. Lower dose studies may better replicate human disease
                  acquisition.
                  • What is the intermediate host(s)?
                  • Can infected animals transmit to humans (e.g., pet cats to humans)?
                  • Can SARS-CoV-2 circulate in animal reservoir populations, potentially leading to future spillover
                     events?




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   SARS-CoV-2       Incubation Period – How long after infection do symptoms appear? Are people infectious
   (COVID-19)                                           during this time?
  What do we      The majority of individuals develop symptoms within 14 days of exposure. For most people, it takes at
  know?           least 2 days to develop symptoms, and on average symptoms develop 5 days after exposure.
                  Incubating individuals can transmit disease for several days before symptom onset. Some individuals
                  never develop symptoms but can still transmit disease.
                  • The best current estimate of the COVID-19 incubation period is 5.1 days, with 99% of individuals
                     exhibiting symptoms within 14 days of exposure.230 Fewer than 2.5% of infected individuals show
                     symptoms sooner than 2 days after exposure.230
                  • Individuals can test positive for COVID-19 even if they lack clinical symptoms.29, 78, 163, 382, 462
                  • Individuals can be infectious while asymptomatic,73, 350, 382, 462 and asymptomatic and pre-symptomatic
                     individuals have similar amounts of virus in the nose and throat compared to symptomatic patients. 24,
                    208, 469

                  • Peak infectiousness may be during the incubation period, one day before symptoms develop.171
                    Infectious virus has been cultured in patients up to 6 days before the development of symptoms.24
                  • Infectious period is unknown, but possibly up to 10-14 days.8, 240, 361
                  • Asymptomatic individuals are estimated to be infectious for a median of 9.5 days.179
                  • On average, there are approximately 4126 to 7.5239 days between symptom onset in successive cases
                    of a single transmission chain (i.e., the serial interval). Based on data from 339 transmission chains in
                    China, the mean serial interval is 5.29 days.125
                  • Children are estimated to shed virus for 15 days on average, with asymptomatic individuals shedding
                    virus for less time (11 days) than symptomatic individuals (17 days). 262
                  • Most hospitalized individuals are admitted within 8-14 days of symptom onset.464
  What do we      The incubation period is well-characterized. Patients may be infectious, however, for days before
  need to know?   symptoms develop.
                  • What is the average infectious period during which individuals can transmit the disease?




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  REQUIRED INFORMATION FOR EFFECTIVE INFECTIOUS DISEASE OUTBREAK RESPONSE                              SARS-CoV-2 (COVID-19)
                                          Updated 6/9/2020

    SARS-CoV-2
                          Clinical Presentation – What are the signs and symptoms of an infected person?
    (COVID-19)
   What do we      Many COVID-19 cases are asymptomatic. Most symptomatic cases are mild, but severe disease can be
   know?           found in any age group.6 Older individuals and those with underlying medical conditions are at higher
                   risk of serious illness and death.
                   • Approximately 18-31% of patients are asymptomatic throughout the course of their infection.291, 301, 387
                      These estimates are based on studies that minimize the likelihood of including pre-symptomatic
                      patients, which can obscure asymptomatic rates.24
                   • The majority of symptomatic COVID-19 cases are mild (81%, n=44,000 cases).382 Initial COVID-19
                      symptoms include fever (87.9% overall, but only 44-52% present with fever initially),22, 163 cough
                      (67.7%),163 fatigue, shortness of breath, headache, and reduced lymphocyte count.74, 82, 180 Chills,
                      muscle pain, headache, sore throat, and loss of taste or smell442 are also possible COVID-19
                      symptoms.74 The prevalence of GI symptoms varies.149 Neurological symptoms such as agitation and
                      confusion may present with COVID-19,172 may be more common in severe cases,110 and neurological
                      involvement can be seen on autopsy.398 Ocular issues434 and skin lesions may also be symptoms of
                      COVID-19.47
                   • Complications include acute respiratory distress syndrome (ARDS, 17-29% of hospitalized patients,
                      leading to death in 4-15% of cases),89, 180, 402 pneumonia,313 cardiac injury (20%),367 secondary infection,
                      kidney damage,23, 374 arrhythmia, sepsis, and shock.163, 180, 402, 464 Most deaths are caused by respiratory
                      failure or respiratory failure combined with heart damage.351 A number of immunological indicators
                      may help identify potentially severe cases.27, 129, 170, 182, 326, 377
                   • Approximately 15% of hospitalized patients are classified as severe,163, 382 and approximately 5% of
                      patients are admitted to the ICU.163, 382 Patient deterioration can be rapid.159 The survival rate of
                      patients requiring mechanical ventilation varies widely (e.g., 35%,186 70%,25 75.5%342).
                   • Recent evidence suggests that SARS-CoV-2 may attack blood vessels in the lung, leading to clotting
                      complications and ARDS.10, 396 Clotting issues may be associated with severely ill COVID-19 patients211
                      and those with ARDS.110 COVID-19 patients should be monitored for possible thrombosis. 233
                   • COVID-19 patients undergoing unrelated surgical procedures have high levels of postoperative
                      complications and mortality.298
                   The case fatality rate varies substantially by patient age and underlying comorbidities.
                   • Cardiovascular disease, hypertension,455 diabetes, and respiratory conditions all increase the CFR. 382,
                      464 Hypertension and obesity are common in the US149 and contribute to mortality.23, 316

                   • Individuals >60 are at higher risk of death, and the CFR for individuals >85 is between 10 and 27%.382,
                      464 In a small study, men exhibited more severe symptoms and died at higher rates than women.198

                      The effect of comorbidities on the likelihood of severe symptoms is higher for men.285
                   • Deaths due to COVID-19 are underreported. In New York City, up to 5,293 (22%) of period-specific
                      excess deaths are unexplained and could be related to the pandemic. 306 More work is needed.
                   Additional studies on vulnerable subpopulations are required.
                   • Black, Asian, and Minority Ethnic (BAME) populations acquire SARS-CoV-2 infection at higher rates
                      than other groups312 and are disproportionately represented in hospitalized populations.149, 327 African
                      American communities contribute disproportionately to the number of deaths in the US.289
                   • Pregnant women appear to develop severe symptoms at the same rate as the general population,88,
                      204, 452 and current reports suggest no increase in risk of pre-term birth.443 Severe symptoms in

                      pregnant women may be associated with underlying conditions such as obesity.256 Most studies of
                      COVID-19 in pregnancy represent women in later stages of pregnancy.
                   Children are susceptible to COVID-19,124 though generally show milder83, 261 or no symptoms.
                   • Between 21-28% of children may be asymptomatic.261, 319, 329 Most symptomatic children present with
                      mild or moderate symptoms,319 with few exhibiting severe or clinical illness.431
                   • Severe symptoms in children are possible251 and more likely in those with complex medical histories362
                      or underlying conditions such as obesity.451 Infant deaths have been recorded.54, 261
                   • Early reports indicate the possibility of rare hyperinflammatory syndromes or shock in children
                      (termed Pediatric Multi-System Inflammatory Syndrome)156 linked to COVID-19 infection.345 The
                      WHO419 and US CDC195 have issued case definitions for this condition.
   What do we      The true case fatality rate is unknown, as the exact number of cases is uncertain. Testing priorities and
   need to know?   case definitions vary by location. The proportion of asymptomatic infections is not known.
                   • How long does it take for infected individuals to recover outside of a healthcare setting?
                   • What proportion of infected individuals are asymptomatic? Does this vary by age, location, or
                       comorbidities?

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  REQUIRED INFORMATION FOR EFFECTIVE INFECTIOUS DISEASE OUTBREAK RESPONSE                            SARS-CoV-2 (COVID-19)
                                          Updated 6/9/2020

    SARS-CoV-2         Protective Immunity – How long does the immune response provide protection from
    (COVID-19)                                           reinfection?
   What do we      Infected patients show productive immune responses, however more data is needed.
   know?           • In a limited study (n=9), hospitalized patients shed high levels of infectious virus for 7 days via the
                     nasal-pharyngeal route, 50% of patients produced antibodies within 7 days, and all patients produced
                     antibodies by 14 days. Antibody production did not correlate with lower viral load.423
                   • In a larger study (n=175), most patients developed neutralizing antibodies within 10-15 days after
                     disease onset. Elderly patients had significantly higher neutralizing antibody titers than younger
                     patients.430 In a separate study, elderly patients also showed higher viral loads than younger
                     patients.386
                   • In a study of 285 COVID-19 patients, 100% developed antiviral immunoglobulin-G within 19 days of
                     symptom onset.257 The neutralizing ability of these antibodies was not tested.257 In a smaller in vitro
                     study (n=23 patients), levels of antibodies (immunoglobulins M and G) were positively correlated with
                     SARS-CoV-2 neutralizing ability.386 In a smaller study of 44 patients, plasma from 91% demonstrated
                     SARS-CoV-2 neutralizing ability, appearing roughly 8 days after symptom onset. 379
                   • In a small study (n=26 mild cases), researchers found prolonged persistence of SARS-CoV-2 antibodies
                     and SARS-CoV-2 RNA for up to 50 days.401
                   • Previous studies on coronavirus immunity suggest that neutralizing antibodies may wane after several
                     years.59, 433 More data are needed.
                   • A small subset of COVID-19 patients in China (8%) did not develop a serological response to infection,
                     though the potential for reinfection in these patients is unknown. 430 Similarly, between 16.7% (for IgG)
                     and 51.7% (for IgM) of patients in a separate study did not exhibit any immune response, in terms of
                     production of those two types of antibodies.380
                   • In a study of 221 COVID-19 patients, levels of two types of antibodies (IgM and IgG) were not
                     associated with the severity of symptoms.178 However, in a smaller study, patients with severe disease
                     showed stronger antibody responses than those with non-severe symptoms.386
                   • The early recovery phase of COVID-19 patients is characterized by inflammatory immune response,410
                     suggesting the potential for adverse reactions after clinical improvement.
                   • Two studies identified key components of the adaptive immune system (CD4+ T cells) in the majority of
                     recovered COVID-19 patients, and these cells reacted to SARS-CoV-2 Spike protein.50, 160 These studies
                     also identified Spike protein responses in CD4+ T cells of ~30-40% of unexposed patients,160 suggesting
                     some cross-reactivity between other circulating human coronaviruses and SARS-CoV-2.50, 160 The
                     degree of protection provided by cross-reactivity is currently unknown.
                   Currently, there is no evidence that recovered patients can be reinfected with SARS-CoV-2.
                   • Two studies suggest limited reinfection potential in macaques. In the first, two experimentally
                      infected macaques were not capable of being reinfected 28 days after their primary infection
                      resolved.30 In the second, rhesus macaques exposed to different doses of SARS-CoV-2 via the
                      intranasal and intratracheal routes (104 – 106 PFU) developed pathological infection and were
                      protected upon secondary challenge 35 days after initial exposure (little to no clinical symptoms, large
                      reduction in viral titer compared to initial infection). 81 Longer-term research and work in humans still
                      needs to be conducted.81
                   • Ferrets infected with 102-104 PFU were protected from acute lung injury following secondary
                      challenge with SARS-CoV-2 28 days after initial exposure, but they did exhibit clinical symptoms such
                      as lethargy and ruffled fur.354 Cats exposed to SARS-CoV-2 after initial recovery did not shed virus,
                      suggesting some protective effect of primary infection. 46
                   • According to the WHO, there is no evidence of re-infection with SARS-CoV-2 after recovery.229
                   • Patients can test positive via PCR for up to 37 days after symptoms appear,464 and after recovery and
                      hospital discharge.225 The ability of these individuals to infect others is unknown.
                   The strength and duration of any immunity after initial COVID-19 infection is unknown.17, 415
   What do we      Understanding the duration of protective immunity is limited by small sample sizes. Animal models
   need to know?   are plausible surrogates. Additional research to quantify the risk of reinfection after weeks, months,
                   and years is needed.
                   • How long does the immune response last? Is there evidence of waning immunity?
                   • Can humans become reinfected?
                   • How does the patient immune response vary by age or disease severity?
                   • How do different components of the immune response contribute to long-term protection?




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  REQUIRED INFORMATION FOR EFFECTIVE INFECTIOUS DISEASE OUTBREAK RESPONSE                              SARS-CoV-2 (COVID-19)
                                          Updated 6/9/2020

    SARS-CoV-2      Clinical Diagnosis – Are there tools to diagnose infected individuals? When during infection
    (COVID-19)                                            are they effective?
   What do we      Diagnosis relies on identifying the genetic signature of the virus in patient nose, throat, or sputum
   know?           samples. These tests are relatively accurate. Confirmed cases are still underreported.
                   • The US CDC has expanded testing criteria to include symptomatic patients at clinician discretion.33
                   • PCR protocols and primers have been widely shared internationally. 66, 106, 239, 365, 414, 421 PCR-based
                     diagnostic assays are unable to differentiate between active and inactive virus.
                   • A combination of pharyngeal (throat) RT-PCR and chest tomography is the most effective diagnostic
                     criteria (correctly diagnoses 91.9% of infections).339 A single throat swab detects 78.2% of infections,
                     and duplicate tests identify 86.2% of infections.339 PCR tests using saliva are at least as effective as
                     those using nasopharyngeal swabs,86, 435 and may be useful for at-home sampling.
                   • Nasal and pharyngeal swabs may be less effective as diagnostic specimens than sputum and
                     bronchoalveolar lavage fluid,404 although evidence is mixed.423 Combination RT-PCR and serology
                     (antibody) testing may increase the ability to diagnose patients with mild symptoms, or identify
                     patients at higher risk of severe disease.461 Assays targeting antibodies against the nucleocapsid
                     protein (N) instead of the Spike protein (S) of SARS-CoV-2 may improve detection.55
                   • The timing of diagnostic PCR tests impacts results. The false-negative rate for RT PCR tests is lowest
                     between 7 and 9 days after exposure, and PCR tests are more likely to give false-negative results
                     before symptoms begin (within 4 days of exposure) and more than 14 days after exposure.219
                   • The FDA issued an Emergency Use Authorization for an antigen-based diagnostic assay, limited to use
                     in certified laboratories (clinical laboratory improvement amendments, CLIA). 131
                   • The FDA released an Emergency Use Authorization enabling laboratories to develop and use tests in-
                     house for patient diagnosis.136 Tests from the US CDC are available to states.66, 73 Multiple rapid or real-
                     time test kits have been produced by universities and industry, including the Wuhan Institute of
                     Virology,111 BGI,40 Cepheid,397 Abbot,134 and Mesa Biotech.43 Home tests are being developed;
                     however, none are FDA approved, nor are they useable as a diagnostic.296-297, 317
                   • The US CDC is developing serological tests to determine what proportion of the population has been
                     exposed to SARS-CoV-2.202
                   • Artificial intelligence algorithms were able to improve the ability of radiologists to distinguish COVID-19
                     pneumonia from non-COVID-19 pneumonia on chest CT scans.28
                   Validated serological (antibody) assays are being developed to help determine who has been exposed
                   to SARS-CoV-2. Serological evidence of exposure does not indicate immunity.
                   • Researchers found high specificity in a number of enzyme-linked immunosorbent assays (ELISA),
                     though sample sizes for SARS-CoV-2 patients were small.305 Additional research has shown high
                     variability in the ability of tests (ELISA and lateral flow assays) by different manufacturers to accurately
                     detect positive and negative cases (sensitivity and specificity, respectively). 228, 411 Lateral flow assays
                     may be less reliable than ELISA.12 The FDA has recommended against the use of several dozen
                     serological diagnostic assays based on failure to conform to updated regulatory requirements. 133
                     Researchers have designed a standardized ELISA procedure for SARS-CoV-2 serology samples aimed at
                     minimizing false positives and false negatives.212
                   • Serological studies show that the proportion of individuals exposed to SARS-CoV-2 remains low in
                     locations affected by the pandemic early, such as Wuhan (3.2-3.8%)440 and Hong Kong (2.5-4.0%).385 In
                     one German town, serological testing has been used to identify the percent of the population already
                     exposed to SARS-CoV-2 (14%), which can assist in public health response planning. 336
                   • Preliminary serological studies in Santa Clara and Los Angeles, California, estimated that 2.5-4.1% of
                     the population has already been exposed to SARS-CoV-2 since the first confirmed cases in January,37, 272
                     which is between 28 and 85 times greater than official reports. There are issues, however, with non-
                     random study populations,37 as well as false positive rates of the diagnostic tests themselves. 272 The
                     false positive rate of the diagnostic assay used may account for a substantial portion of the reported
                     infections,37 particularly if the true proportion of positive patients is low.
                   • In New York, initial serological testing indicates that 13.9% of the population has been exposed to
                     COVID-19, approximately 10 times greater than the number of reported cases. 3
   What do we      In general, PCR tests appear to be sensitive and specific, though confirmation of symptoms via chest
   need to know?   CT is recommended. The sensitivity and specificity of serological testing methods is variable, and
                   additional work needs to be done to determine factors that affect test accuracy.
                   • How accurate are clinical diagnoses compared to genetic tests?
                   • How many serological tests need to be done to obtain an accurate picture of underlying exposure?



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  REQUIRED INFORMATION FOR EFFECTIVE INFECTIOUS DISEASE OUTBREAK RESPONSE                                   SARS-CoV-2 (COVID-19)
                                          Updated 6/9/2020

    SARS-CoV-2
                                           Medical Treatments – Are there effective treatments?
    (COVID-19)
   What do we      Treatment for COVID-19 is primarily supportive care including ventilation if necessary.163, 273 Numerous
   know?           clinical trials are ongoing. Several drugs show efficacy.
                   • Two WHO-backed clinical trials (Solidarity and Discovery)220 include remdesivir, hydroxychloroquine
                     and chloroquine, ritonavir/lopinavir, and ritonavir/lopinavir and interferon-beta.220
                   Remdesivir shows promise for reducing symptom duration in humans.36
                   • Remdesivir can reduce the duration of symptoms in infected individuals, from 15 days to 11 days on
                     average (compared to controls).36 Remdesivir received an Emergency Use Authorization from FDA.299
                     Five and ten-day courses of remdesivir showed similar effects in preliminary Phase III trial results, but
                     were not compared to a control group.157
                   • In a separate clinical trial of severe COVID-19 patients, the effects of remdesivir were inconclusive due
                     to a limitation in the study sample size. 405 This trial ended early, reducing its statistical power.405
                   Hydroxychloroquine is associated with elevated risk of cardiac arrhythmias and provides limited to no
                   clinical benefit at this point in time. Large, randomized clinical trial results are necessary.
                   • Preliminary results from the RECOVERY trial indicate no benefit of hydroxychloroquine in terms of
                     reduced mortality when administered to hospitalized patients. 175 The trial has stopped administering
                     hydroxychloroquine to new patients.175 Other existing studies have found no benefit of
                     hydroxychloroquine (with or without azithromycin) 87, 152, 266-267, 381 as well as cardiac side effects39, 98, 154,
                     193, 268, 286 and elevated risk of mortality. 266 Individuals taking hydroxychloroquine for autoimmune

                     disorders were not protected from COVID-19,153 though sample sizes were limited. Patients given
                     hydroxychloroquine after exposure to COVID-19 developed illness at the same rate as untreated
                     patients, indicating no protective benefit.48 A large observational study showing elevated mortality in
                     patients taking hydroxychloroquine was retracted due to lack of access to primary data.282
                   • Initial results purporting benefits of hydroxychloroquine and azithromycin 151 have been called into
                     question by other researchers184 and the journal’s publishing society.191 One small clinical trial (n=62)
                     suggests that hydroxychloroquine can reduce recovery time compared to control group.91 Key details
                     are missing from this preprint.91 A small retrospective study (n=48) found benefits to
                     hydroxychloroquine, though details on patient study population selection were limited.446
                   Other pharmaceutical interventions are being investigated.
                   • A randomized Phase II trial found that a triple combination of interferon beta-1b, lopinavir-ritonavir,
                     and ribavirin administered early in infection reduced symptom severity, viral shedding, and hospital
                     stay time compared to patients taking lopinavir-ritonavir alone.185 In a separate study, interferon beta-
                     1a was associated with lower mortality in a small study, but was only tested in combination with other
                     drugs such as lopinavir/ritonavir or hydroxychloroquine. 115
                   • Limited, preliminary evidence from clinical trials supports the efficacy of favipiravir 84 (which has been
                     approved to treat COVID-19 in China)1 and intravenous immunoglobulin.61
                   • Early research found no efficacy from combination ritonavir and lopinavir.60, 245
                   • Phase II clinical trial results for the kinase inhibitor ruxolitinib showed few severe side effects and
                     suggested benefits in terms of symptom duration and mortality.62
                   • Early results from a randomized clinical trial found that high doses of chloroquine diphosphate were
                     associated with toxicity and lethality in severely ill patients.45 Efficacy was not assessed.45
                   • Small, observational studies have found benefits of tocilizumab371, 439 and sarilumab38 in severe COVID-
                     19 patients, and Phase II trial results show limited reductions in mortality.324 Potential benefits of
                     immunosuppressants7 should be weighed against potential risks.332
                   • The anticoagulant heparin is being used to mitigate risks of pulmonary embolism. 129 Systemic
                     anticoagulant use was associated with reduced mortality rates in severely ill patients.315
                   • Passive antibody therapy (convalescent serum)63 is being given to patients,135 appears safe,203 and
                     several small trials suggest benefits from convalescent patient plasma for infected patients.250, 357, 363-364
                     Results from a randomized clinical trial showed no significant benefits of plasma therapy, though the
                     trial may not have enrolled enough patients to assess statistical significance. 238
                   • More work is needed to substantiate a reported link between androgen levels and disease severity in
                     male patients.158, 293, 399
   What do we      Additional information on treatment efficacy is required, particularly from randomized clinical trials.
   need to know?   • Do monoclonal antibodies exhibit any efficacy in human trials?




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  REQUIRED INFORMATION FOR EFFECTIVE INFECTIOUS DISEASE OUTBREAK RESPONSE                            SARS-CoV-2 (COVID-19)
                                          Updated 6/9/2020

    SARS-CoV-2
                                                 Vaccines – Are there effective vaccines?
    (COVID-19)
   What do we      Work is ongoing to develop a SARS-CoV-2 vaccine in human and animal trials. Early results are being
   know?           released, but evidence should be considered preliminary until larger trials are completed.
                   • Multiple entities are working to produce a SARS-CoV-2 vaccine (e.g., operation Warp Speed),18
                     including HHS/NIH/NIAID,173, 234 CEPI, Moderna Therapeutics, Pfizer,130 Gilead Sciences,4-5, 300 Sanofi,49
                     and Johnson and Johnson.201
                   Phase II Trials (initial testing for efficacy, continued testing for safety):
                   • China's CanSino is the first to complete Phase I safety trials of their adenovirus type5 vector based
                     SARS-CoV-2 vaccine, Ad5-nCoV, and has advanced to Phase II human trials.246
                   • University of Oxford’s ChAdOx1 candidate has begun Phase II/III human trials.310
                   • Moderna is beginning its Phase II trial of mRNA-1273 with 600 participants.274
                   Phase I Trials (initial testing for safety):
                   • Sinovac Biotech has reported that their inactivated virus vaccine shows protective effects in rhesus
                     macaques, particularly at high doses.148 The vaccine is currently in Phase I clinical trials.102
                   • Phase I trial results for the CanSino vaccine (Ad5-nCoV) showed few severe adverse reactions in
                     humans within 28 days of follow-up (side effects included fever [sometimes severe], fatigue, headache,
                     and muscle pain).467 Immune responses were found in most patients, peaking at 14 days for T-cells and
                     28 days for antibodies.467 Two doses were selected for human Phase II trials. Vaccine efficacy in
                     humans is currently unknown.467
                   • Preliminary data from a Phase I trial of Moderna’s mRNA-1273 candidate suggest that the vaccine is
                     well-tolerated by human subjects, and induces an antibody response against SARS-CoV-2.292
                   • Inovio had their IND approved by the FDA and have started their Phase I clinical trials on their DNA
                     vaccine candidate INO-4800.355
                   • Shenzhen Geno-Immune Medical Institute is testing its aAPC279 and lentiviral277 vaccines in Phase I
                     clinical trials.
                   • BioNTech and Pfizer’s BNT162 program is in Phase I/II clinical trial for four of its mRNA vaccine
                     candidates.325
                   • The ChAdOx1 platform has shown protective efficacy in rhesus macaques in preclinical trials. Safety
                     and efficacy still need to be determined in human trials. 393
                   • The Beijing Institute of Biological Products/Wuhan Institute of Biological Products have initiated a
                     Phase I trial of their inactivated vaccine candidate.422
                   • Symvivo Corporation has received approval to begin a Phase I trial with their oral bacTRL-Spike vaccine
                     candidate in Canada.275
                   • Novavax is testing a recombinant spike protein nanoparticle vaccine in Phase I trials.276
                   • Immunitor LLC is starting Phase I trials of a heat-inactivated vaccine derived from pooled patient
                     plasma.281
                   • Aivita Biomedical will begin a Phase Ib/II randomized double-blind clinical trial of 180 people,
                     specifically healthcare workers and first responders. Their vaccine DC-ATA consists of autologous
                     dendritic cells loaded with antigens from SARS-CoV-2.278
                   • Clover Biopharmaceuticals (with GSK, Dynavax) will begin a Phase I trial of their vaccine SCB-2019, a
                     recombinant SARS-CoV-2 Trimeric S protein subunit vaccine.280
                   Additional vaccine research
                   • Research has identified several DNA vaccine candidates that show protective efficacy in rhesus
                     macaques, in terms of reduction in viral load compared to non-vaccinated controls, though animals
                     exhibited mild clinical symptoms.447 Human trials with these candidates are needed.
                   Vaccine Production
                   • A number of initiatives have planned or begun production of COVID-19 vaccines, with the goal of
                     producing hundreds of millions of doses by 2021. Production of vaccine candidates is occurring before
                     efficacy trials are complete, though only those candidates with safe and effective trial results will be
                     administered to humans.34, 166-169
   What do we      Published results from randomized clinical trials (Phase I – III) are needed.
   need to know?   • Safety of candidate vaccines in humans and animals
                   • Efficacy of candidate vaccines in humans and animals
                   • Length of any vaccine-derived immunity
                   • Evidence for vaccine-derived enhancement (immunopotentiation)




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  REQUIRED INFORMATION FOR EFFECTIVE INFECTIOUS DISEASE OUTBREAK RESPONSE                               SARS-CoV-2 (COVID-19)
                                          Updated 6/9/2020

    SARS-CoV-2          Non-pharmaceutical Interventions – Are public health control measures effective at
    (COVID-19)                                         reducing spread?
   What do we      Broad-scale control measures such as stay-at-home orders are effective at reducing movement and
   know?           contact rates, and modeling shows evidence that they reduce transmission.
                   • Social distancing and other policies are estimated to have reduced COVID-19 spread by 44% in Hong
                      Kong109 and reduced spread throughout China214, 218, 222, 258, 269 and Italy.150 Restrictive lockdowns in
                      China are estimated to have reduced disease transmission within only a few days,468 in part, through
                      reductions in an individual’s average number of contacts.453
                   • Modeling demonstrates that multifaceted restrictions and quarantines in China reduced the R 0 of
                      SARS-CoV-2 from greater than 3 to less than 1 between January 23 and February 5.311 Additionally,
                      movement restrictions and other control measures helped limit the amount of time where community
                      transmission was possible (i.e., R0 > 1).454
                   • A US county-level model found that shelter in place orders (SIPOs) and restaurant and bar closures
                      were associated with large reductions in exponential growth rate of cases. 107 School closures and
                      cancellation of large gatherings had smaller effects.107 Similarly, researchers found that a larger
                      number of public health interventions in place was strongly associated with lower COVID-19 growth
                      rates in the next week.205
                   • Mobility142, 227 and physical contact rates194 decline after public health control measures are
                      implemented. Modeling suggests that on their own, travel restrictions are ineffective at reducing
                      COVID-19 spread and only delay peak prevalence by only a few days but do not limit epidemic size.16
                   • Models indicate that a combination of school closures, work restrictions, and other measures are
                      required to effectively limit transmission. 139 School closures alone appear insufficient.192, 222
                   • Non-pharmaceutical interventions in China did not reduce transmission equally across all groups;
                      transmission rates in younger individuals, particularly infants, as well as hospital workers continued to
                      increase even while overall transmission rates declined.311
                   • Two modeling studies identified large reductions in transmission due to country lockdowns144 and
                      other social distancing measures,177 with substantial variation in the efficacy of particular policies in
                      different countries.144, 177
                   • Contact tracing to identify infected individuals reduces the amount of time infectious individuals can
                      transmit disease in a population and increases the time between successive cases.42 Robust contact
                      tracing and case finding may be needed to control COVID-19 in the US, but would require additional
                      staff and resources to conduct effectively.406 In South Korea, early implementation of rapid contact
                      tracing, testing, and quarantine of confirmed and suspected cases was able to reduce the transmission
                      rate of COVID-19.376 Modeling studies suggest that contact tracing combined with high levels of
                      testing may limit COVID-19 resurgence once initial social distancing policies are relaxed. 15, 140
                   Research is needed to help plan for easing of restrictions.
                   • Modeling suggests that 20-30 US states still have self-sustained COVID-19 transmission (R0 > 1) as of
                      5/17/2020.389 The same work estimates that very few individuals have been infected overall (4.3%
                      estimated prevalence), even in states with large case and fatality totals (e.g., 16.6% of New York
                      residents).389 Relaxation of public health interventions is projected to increase cases and deaths. 112, 389
                   • Modeling indicates that COVID-19 is likely to become endemic in the US population, with regular,
                      periodic outbreaks, and that additional social or physical distancing measures may be required for
                      several years to keep cases below critical care capacity in absence of a vaccine or effective
                      therapeutic.210 Results depend critically on the duration of immunity after exposure. 210
                   • Rolling interventions, whereby social distancing measures are put into place every few weeks, may
                      keep healthcare demand below a critical point.445
                   • A modeling study using Chinese data suggests that carefully balancing control measures to maintain R0
                      below 1 would be more efficient than allowing R0 to increase above 1 at any point.231
                   • The WHO has released guidelines on public health strategy,413 and Johns Hopkins released a report
                      outlining how to re-open certain categories of activities (e.g., schools, restaurants, events) while
                      reducing COVID-19 risk.346
   What do we      As different US states have implemented differing control measures at various times, a comprehensive
   need to know?   analysis of social distancing efficacy has not yet been conducted.
                   • What are plausible options for relaxing social distancing and other intervention measures without
                     resulting in a resurgence of COVID-19 cases?
                   • How is COVID-19 incidence changing in states that have begun easing movement and activity
                     restrictions?



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                                          Updated 6/9/2020

    SARS-CoV-2
                             Environmental Stability – How long does the agent live in the environment?
    (COVID-19)
   What do we       SARS-CoV-2 can persist on surfaces for at least 3 days and on the surface of a surgical mask for up to 7
   know?            days depending on conditions. If aerosolized intentionally, SARS-CoV-2 is stable for at least several
                    hours. The seasonality of COVID-19 transmission is unknown. SARS-CoV-2 on surfaces is inactivated
                    rapidly with sunlight.
                    SARS-CoV-2 Data
                    • In simulated saliva on stainless steel surface, SARS-CoV-2 exhibits negligible decay over 60 minutes in
                      darkness, but loses 90% of infectivity every 6.8-12.8 minutes, depending on the intensity of simulated
                      UVB radiation levels.335
                    • SARS-CoV-2 can persist on plastic and metal surfaces between 3 days (21-23°C, 40% RH)391 and 7 days
                      (22°C, 65% RH). Infectious virus can be recovered from a surgical mask after 7 days (22°C, 65% RH).97
                    • SARS-CoV-2 has an aerosol half-life of 2.7 hours (particles <5 μm, tested at 21-23°C and 65% RH).391
                    • SARS-CoV-2 is susceptible to heat treatment (70°C) but can persist for at least two weeks at
                      refrigerated temperatures (4°C).97, 334
                    • SARS-CoV-2 genetic material (RNA) was detected in symptomatic and asymptomatic cruise ship
                      passenger rooms up to 17 days after cabins were vacated. The infectiousness of this material is not
                      known.294
                    • In a preliminary study, SARS-CoV-2 stability was enhanced when present with bovine serum albumin,
                      which is commonly used to represent sources of protein found in human sputum.320
                    • No strong evidence exists showing a reduction in transmission with seasonal increase in temperature
                      and humidity.263 Modeling suggests that even accounting for potential reductions in transmission due
                      to weather and behavioral changes, public health interventions will still need to be in effect to limit
                      COVID-19 transmission.287
                    • The Department of Homeland Security (DHS) developed a data-based model for SARS-CoV-2 decay on
                      inert surfaces (stainless steel and ABS plastic) at varying temperature and relative humidity. This model
                      estimates virus decay in the absence of exposure to direct sunlight.122
                    • A recent study determined that approximately 0.1-1% of initial SARS-CoV-2 inoculated on plastic,
                      stainless steel, glass, ceramics, wood, latex gloves, cotton, paper, and surgical masks remained after 48
                      hours.254 Approximately 0.1% of SARS-CoV-2 remains in fecal matter after 6 hours.254 Approximately
                      0.1% of SARS-CoV-2 in human urine persists after 4-5 days.254
                    • RNA in clinical samples collected in viral transport medium is stable at 18-25°C or 2-8°C for up to 21
                      days without impacting real-time RT-PCR results.370 RNA in clinical samples is also stable at 4°C for up
                      for 4 weeks with regard to quantitative RT-PCR testing (given that the sample contains 5,000
                      copies/mL). Separately, storage of RNA in PBS at room-temperature (18-25°C) resulted in unstable
                      sample concentrations.322
                    Surrogate Coronavirus data:
                    • Studies suggest that other coronaviruses can survive on non-porous surfaces up to 9-10 days (MHV,
                      SARS-CoV),64, 80 and porous surfaces for up to 3-5 days (SARS-CoV)128 in air conditioned environments
                      (20-25°C, 40-50% RH).
                    • Coronavirus survival tends to be higher at lower temperatures and lower relative humidity (RH),64, 80,
                      331, 392 though infectious virus can persist on surfaces for several days in typical office or hospital

                      conditions.392
                    • SARS can persist with trace infectivity for up to 28 days at refrigerated temperatures (4°C) on
                      surfaces.64
                    • One hour after aerosolization approximately 63% of airborne MERS virus remained viable in a
                      simulated office environment (25°C, 75% RH).328
                    • Porous hospital materials, including paper and cotton cloth, maintain infectious SARS-CoV for a shorter
                      time than non-porous material.221
   What do we       Additional testing on SARS-CoV-2, as opposed to surrogate viruses, is needed to support initial
   need to know?    estimates of stability.
                   • Particle size distribution (e.g., droplet, large droplet, and true aerosol distribution)
                   • Duration of SARS-CoV-2 infectivity via fomites and surfaces (contact hazard)
                   • Stability of SARS-CoV-2 on PPE (e.g., Tyvek, nitrile, etc.)
                   • Evidence for seasonality in transmission, or other environmental impacts (UV, temperature, humidity)




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                                          Updated 6/9/2020

    SARS-CoV-2
                       Decontamination – What are effective methods to kill the agent in the environment?
    (COVID-19)
   What do we      Soap and water, as well as common alcohol and chlorine-based cleaners, hand sanitizers, and
   know?           disinfectants are effective at inactivating SARS-CoV-2 on hands and surfaces.
                   SARS-CoV-2
                   • Alcohol-based hand rubs are effective at inactivating SARS-CoV-2.216
                   • Chlorine bleach (1%, 2%), 70% ethanol and 0.05% chlorhexidine are effective against live virus in lab
                       tests.96
                   • Twice-daily cleaning with sodium dichloroisocyanurate decontaminated surfaces in COVID-19 patient
                       hospital rooms.307
                   • EPA has released a list of SARS-CoV-2 disinfectants, but solutions were not tested on SARS-CoV-2.13
                   Other Coronaviruses
                   • Chlorine-based417 and ethanol-based105 solutions are recommended.
                   • Heat treatment (56°C) is sufficient to kill coronaviruses,331, 463 though effectiveness depends partly on
                       protein in the sample.331
                   • 70% ethanol, 50% isopropanol, sodium hypochlorite (0.02% bleach), and UV radiation can inactivate
                       several coronaviruses (MHV and CCV).356
                   • Ethanol-based biocides effectively disinfect coronaviruses dried on surfaces, including ethanol
                       containing gels similar to hand sanitizer.183, 424
                   • Surface spray disinfectants such as Mikrobac, Dismozon, and Korsolex are effective at reducing
                       infectivity of the closely related SARS-CoV-1 after 30 minutes of contact.330
                   • Coronaviruses may be resistant to heat inactivation for up to 7 days when stabilized in stool.383-384
                   • Coronaviruses are more stable in matrixes such as respiratory sputum.127
                   Methods for decontaminating N95 masks have been approved by the FDA under an Emergency Use
                   Authorization (EUA).
                   • Researchers have identified four methods capable of decontaminating N95 respirators while
                      maintaining physical integrity (fit factor): UV radiation, heating to 70°C, and vaporized hydrogen
                      peroxide (VHP).141 Ethanol (70%) was associated with loss of physical integrity. 141
                   • Hydrogen peroxide vapor (VHP) can repeatedly decontaminate N95 respirators.343 Devices capable of
                      decontaminating 80,000 masks per day have been granted Emergency Use Authorization from the
                      FDA.131
                   • The FDA has issued an Emergency Use Authorization for a system capable of decontaminating ten
                      N95 masks at a time using devices already present in many US hospitals.51
   What do we      Additional decontamination studies, particularly with regard to PPE and other items in short supply,
   need to know?   are needed.
                   • What is the minimal contact time for disinfectants?
                   • Does contamination with human fluids/waste alter disinfectant efficacy profiles?
                   • How effective is air filtration at reducing transmission in healthcare, airplanes, and public spaces?
                   • Are landfills and wastewater treatment plants effective at inactivating SARS-CoV-2?
                   • Is heat or UV decontamination effective to clean N95 masks, respirators and other types of PPE for
                     multi-use?




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                                          Updated 6/9/2020

    SARS-CoV-2
                                        PPE – What PPE is effective, and who should be using it?
    (COVID-19)
   What do we      The effectiveness of PPE for SARS-CoV-2 is currently unknown, and data from other related
   know?           coronaviruses are used for guidance. Healthcare workers are at high risk of acquiring COVID-19, even
                   with recommended PPE.
                   • Healthcare worker illnesses382 demonstrates human-to-human transmission despite isolation, PPE, and
                     infection control.359 Risk of transmission to healthcare workers is high, with up to 20% of healthcare
                     workers in Lombardy, Italy becoming infected.338 Over 50% of US healthcare workers infected with
                     COVID-19 report work in a healthcare setting as their single source of exposure.56
                   • “Healthcare personnel entering the room [of SARS-CoV-2 patients] should use standard precautions,
                     contact precautions, airborne precautions, and use eye protection (e.g., goggles or a face shield).”71
                     WHO indicates healthcare workers should wear clean long-sleeve gowns as well as gloves.416 Clothing
                     and PPE that covers all skin may reduce exposure to pathogens. 138, 409
                   • Respirators (NIOSH-certified N95, EUFFP2 or equivalent) are recommended for those dealing with
                     possible aerosols.417 Additional protection, such as a Powered Air Purifying Respirator (PAPR) with a full
                     hood, should be considered for high-risk procedures (i.e., intubation, ventilation).53
                   • Particular attention should be paid to the potential for transmission via exhaled air during supportive
                     respiratory procedures.162
                   • KN95 respirators are, under certain conditions, approved for use under FDA Emergency Use
                     Authorization.132 On May 7, the FDA rescinded a number of KN95 models that no longer meet the EUA
                     criteria and are no longer authorized.137
                   • A study suggests that P100 respirators with removable filter cartridges have similar filtration efficiency
                     compared to N95 respirators and could plausibly be used if N95 respirators were in short supply. The
                     study used an experimental setup with aerosolized simulant, not human testing.321
                   • Particular care should be taken with “duckbill” N95 respirators, which may fail fit tests after repeated
                     doffing.119 Dome-shaped N95 respirators also failed fit tests after extended use. 119
                   Masks may be effective at slowing transmission.
                   • On 4/3/2020, the US CDC recommended wearing cloth face masks in public where social distancing
                     measures are difficult to maintain.72 The WHO recommends that the general population wear non-
                     medical masks when in public settings and when physical distancing is difficult, and that vulnerable
                     populations (e.g., elderly) wear medical masks when close contact is likely.412
                   • A meta-analysis of SARS, MERS, and COVID-19 transmission events found evidence that wearing face
                     masks and eye protection were each associated with lower risk of transmission.99 N95 respirators were
                     associated with a larger reduction in transmission risk compared to surgical face masks.99 Physical
                     distance (>1 or 2 meters) was also associated with lower transmission risk.99
                   • In a separate meta-analysis, N95 respirators were found to be beneficial for reducing the occurrence of
                     respiratory illness in health care professionals including influenza, though surgical masks were similarly
                     effective for influenza.304 N95 respirators were associated with large reductions (up to 80%) in SARS-
                     CoV-1 infections.304
                   • Surgical face masks, respirators and homemade face masks may prevent transmission of coronaviruses
                     from infectious individuals (with or without symptoms) to other individuals.114, 232, 390 Surgical masks
                     were associated with a significant reduction in the amount of seasonal coronavirus (not SARS-CoV-2)
                     expressed as aerosol particles (<5 μm) compared to not wearing a mask.232
                   • The efficacy of homemade PPE, made with T-shirts, bandanas, or similar materials, is less than standard
                     PPE, but may offer some protection if no other options are available.100, 113, 340 The filtering efficiency of
                     homemade mask materials is variable. Some non-standard materials (e.g., cotton, cotton hybrids) may
                     be able to filter out >90% of simulant particles >0.3μm,213 while other materials (e.g., T-shirt, vacuum
                     cleaner bag, towels) appear to have lower filtration efficacy (~35-62%).403
   What do we      Most PPE recommendations have not been made on SARS-CoV-2 data, and comparative efficacy of
   need to know?   different PPE for different tasks (e.g., intubation) is unknown. Identification of efficacious PPE for
                   healthcare workers is critical due to their high rates of infection.
                   • What is the importance of aerosol transmission (particles <5μm)? What is the effective distance of
                      spread via droplet or aerosol?
                   • How effective are barriers such as N95 respirators or surgical masks for SARS-CoV-2?
                   • What is the appropriate PPE for first responders? Airport screeners?
                   • What are proper procedures for reducing spread and transmission rates in medical facilities?
                   • How effective are homemade masks at reducing SARS-CoV-2 transmission?



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    SARS-CoV-2
                               Forensics – Natural vs intentional use? Tests to be used for attribution.
    (COVID-19)
   What do we      All current evidence supports the natural emergence of SARS-CoV-2 via a bat and possible
   know?           intermediate mammal species.
                   • Genomic analysis places SARS-CoV-2 into the beta-coronavirus clade, with close relationship to bat
                     coronaviruses. The SARS-CoV-2 virus is distinct from SARS-CoV-1 and MERS viruses.123
                   • Genomic analysis suggests that SARS-CoV-2 is a natural variant and is unlikely to be human-derived or
                     otherwise created by “recombination” with other circulating strains of coronavirus. 19, 466
                   • Genomic data support at least two plausible origins of SARS-CoV-2: “(i) natural selection in a non-
                     human animal host prior to zoonotic transfer, and (ii) natural selection in humans following zoonotic
                     transfer.”19 Both scenarios are consistent with the observed genetic changes found in all known SARS-
                     CoV-2 isolates.
                   • Some SARS-CoV-2 genomic evidence indicates a close relationship with pangolin coronaviruses,425 and
                     data suggest that pangolins may be a natural host for beta-coronaviruses.247, 249 Genomic evidence
                     suggests a plausible recombination event between a circulating coronavirus in pangolins and bats could
                     be the source of SARS-CoV-2.437 Emerging studies are showing that bats are not the only reservoir of
                     SARS-like coronaviruses.457 Additional research is needed.
                   • There are multiple studies showing that the SARS-CoV-2 S protein receptor binding domain, the portion
                     of the protein responsible for binding the human receptor ACE2, was acquired through recombination
                     between coronaviruses from pangolins and bats.20, 242, 248, 457 These studies suggest that pangolins may
                     have played an intermediate role in the adaptation of SARS-CoV-2 to be able to bind to the human
                     ACE2 receptor. Additional research is needed.
                   • A novel bat coronavirus (RmYN02) has been identified in China with an insertion in the viral furin
                     cleavage site. While distinct from the insertion in SARS-CoV-2, this evidence shows that such insertions
                     can occur naturally.465
                   • Additionally, “[…] SARS-CoV-2 is not derived from any previously used virus backbone,” reducing the
                     likelihood of laboratory origination,19 and “[…] genomic evidence does not support the idea that SARS-
                     CoV-2 is a laboratory construct, [though] it is currently impossible to prove or disprove the other
                     theories of its origin.”19
                   • Work with other coronaviruses has indicated that heparan sulfate dependence can be an indicator of
                     prior cell passage, due to a mutation in the previous furin enzyme recognition motif.117
   What do we      Identifying the intermediate species between bats and humans would aid in reducing potential
   need to know?   spillover from a natural source. Wide sampling of bats, other wild animals, and humans is needed to
                   address the origin of SARS-CoV-2.
                   • What tests for attribution exist for coronavirus emergence?
                   • What is the identity of the intermediate species?
                   • Are there closely related circulating coronaviruses in bats or other animals with the novel PRRA
                      cleavage site found in SARS-CoV-2?




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                                          Updated 6/9/2020

    SARS-CoV-2
                                Genomics – How does the disease agent compare to previous strains?
    (COVID-19)
   What do we      Current evidence suggests that SARS-CoV-2 accumulates substitutions and mutations at a similar rate
   know?           as other coronaviruses. Mutations and deletions in specific portions of the SARS-CoV-2 genome have
                   not been linked to any changes in transmission or disease severity, though modeling work is
                   attempting to identify possible changes.
                   • There have been no documented cases of SARS-CoV-2 prior to December 2019. Preliminary genomic
                     analyses, however, suggest that the first human cases of SARS-CoV-2 emerged between 10/19/2019 –
                     12/17/2019.21, 35, 333
                   • Analysis of more than 7,000 SARS-CoV-2 genome samples provides an estimated mutation rate of 6x10-
                     4 nucleotides per genome per year. 394 The same analysis estimates the emergence of SARS-CoV-2 in

                     humans between October and December 2019.394 This aligns with the first known human cases in
                     China in early December 2019, in Europe in late December 2019,121 and circulation in the US
                     (Washington State) in February 2020.427
                   • Despite evidence of variation in the genome77 and areas under positive selection,57 there are no known
                     associations between particular mutations and changes in transmission or virulence.58 Thus, there is
                     currently no evidence of distinct SARS-CoV-2 phenotypes at this time.265, 394 Research attempting to
                     define clades or subgroups of SARS-CoV-2 based solely on genomic features has suffered from limited
                     data450 and sampling bias.145
                   • Analysis shows that no recurrent SARS-CoV-2 mutations are associated with increases in viral
                     transmission, providing no evidence of distinct lineage with different rates of growth.395
                   • In 94 COVID-19 patients where both symptoms and genetic sequences of SARS-CoV-2 were known,
                     there was no association between viral genotype and clinical severity. 458
                   • SARS-CoV-2 is acquiring nucleotide changes at a rate that suggests the virus is undergoing purifying
                     selection (that the genome is stabilizing toward a common genome). 429 Low genetic diversity early in
                     the epidemic suggests that SARS-CoV-2 was capable of jumping to human and other mammalian
                     hosts,429 and that additional jumps into humans from reservoir species may occur.
                   • Pangolin coronaviruses are closely related to both SARS-CoV-2 and closely related bat coronaviruses.
                     Phylogenetic analysis suggests that SARS-CoV-2 is of bat origin, but is closely related to pangolin
                     coronavirus.247, 249
                   • The SARS-CoV-2 Spike protein, which mediates entry into host cells and is the major determinant of
                     host range, is very similar to the SARS-CoV-1 Spike protein.259 The rest of the genome is more closely
                     related to two separate bat259 and pangolin249 coronaviruses.
                   • An analysis of SARS-CoV-2 sequences from Singapore has identified a large nucleotide (382 bp)
                     deletion in ORF-8.375 In Arizona, researchers identified an 81-base pair deletion (removing 27 amino
                     acids) in the ORF-7a protein, indicating that mutations can be detected by routine sentinel surveillance.
                     The function of these deletions are unknown at this time.174
                   • A recent report of virus mutations within patients needs more research.206 Additional analysis of data
                     suggests the results may be due to experimental methods.155, 441
                   • Structural modeling suggests that observed changes in the genetic sequence of the SARS-CoV-2 Spike
                     protein may enhance binding of the virus to human ACE2 receptors. 308 More specifically, changes to
                     two residues (Q493 and N501) are linked with improving the stability of the virus-receptor binding
                     complex.308 Additionally, structural modeling identified several existing mutations that may enhance
                     the stability of the receptor binding domain, potentially increasing binding efficacy. 309 Infectivity assays
                     are needed to validate the genotypic changes and possible phenotypic results identified in these
                     studies.
                   • A key difference between SARS-CoV-2 and other beta-coronaviruses is the presence of a polybasic furin
                     cleavage site in the Spike protein (insertion of a PRRA amino acid sequence between S1 and S2).108
                   • The US CDC is launching a national genomics consortium to assess SARS-CoV-2 genomic changes over
                     time.67
   What do we      Research linking genetic changes to differences in phenotype (e.g., transmissibility, virulence,
   need to know?   progression in patients) is needed.
                   • Are there similar genomic differences in the progression of coronavirus strains from bat to
                     intermediate species to human?
                   • Are there different strains or clades of circulating virus? If so, do they differ in virulence?
                   • What are the mutations in SARS-CoV-2 that allowed human infection and transmission?




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    SARS-CoV-2
                                       Forecasting – What forecasting models and methods exist?
    (COVID-19)
   What do we       There are many groups focused on forecasting cases, hospitalizations, or fatalities due to COVID-19.
   know?            Each model has its own methods and goals, summarized in this section. An evaluation of model
                    performance is beyond the scope of this document. Assumptions and limitations of each model are
                    detailed at the linked reference.
                    US CDC forecasting
                    The US CDC is hosting an ongoing forecasting initiative, and provides ensemble forecasts based on the
                    arithmetic mean of participating groups.70
                   • Columbia University Model: Spatially-explicit SEIR model incorporating contact rate reductions due to
                      social distancing. Estimates total cases and risk of healthcare overrun.352
                   • Imperial College London: Week-ahead forecasts of cases, deaths, and transmissibility (R0) at the
                      country-level. Transmissibility estimates used to forecast incidence based on Poisson renewal
                      process.41
                   • Institute of Health Metrics and Evaluation (IHME): Mechanistic SEIR model combined with curve-fitting
                      techniques to forecast cases, hospital resource use, and deaths at the state and country level.188
                   • Los Alamos National Laboratory: Forecasts of state-level cases and deaths based on statistical growth
                      model fit to reported data. Implicitly accounts for effects of social distancing and other control
                      measures.226
                   • Massachusetts Institute of Technology: Mechanistic SEIR model that forecasts cases, hospitalizations,
                      and deaths. Also includes estimates of intervention measures, allows users to project based on
                      different intervention scenarios (e.g., social distancing lasting for 3 vs. 4 weeks).290
                   • Northeastern University: Spatially explicit, agent-based epidemic model used to forecast fatalities,
                      hospital resource use, and the cumulative attack rate (proportion of the population infected) for
                      unmitigated and mitigated scenarios.302
                   • Notre Dame University: Agent-based model forecasting cases and deaths for Midwest states. Includes
                      effectiveness of control measures like social distancing.323
                   • University of California, Los Angeles: Mechanistic SIR model with statistical optimization to find best-
                      fitting parameter values. Estimates confirmed and active cases, fatalities, and transmission rates at the
                      national and state levels.388
                   • University of Chicago: Age-structured SEIR model that accounts for asymptomatic individuals and the
                      effectiveness of social distancing policies. Forecasts only for Illinois. 95
                   • University of Geneva: Country-level forecasts of cases, deaths, and transmissibility (R0). Uses statistical
                      models fit to reported data, not mechanistic models. 143
                   • University of Massachusetts, Amherst: Aggregation of state and national forecasts to create ensemble
                      model.337
                   • University of Texas, Austin: Machine learning model aimed at identifying links between social
                      distancing measures and changes in death rates. Forecasts fatalities at the state, metropolitan area,
                      and national level. Cannot be used to make projections beyond initial infection wave.288
                   • Youyang Gu: Mechanistic SEIR model coupled with machine learning algorithms to minimize error
                      between predicted and observed values. Forecasts deaths and infections at the state and national
                      level, including 60 non-US countries. Includes effects of public health control efforts.161
                   • Auquan: SEIR model used to forecast deaths and illnesses at the country and state level. 26
                   • CovidSim: SEIR model allowing users to simulate the effects of future intervention policies at the state
                      and national level (US only).94
                    Other forecasting efforts:
                   • University of Georgia: Statistical models used to estimate the current number of symptomatic and
                      incubating individuals, beyond what is reported (e.g., “nowcasts”). Available at the state and national
                      level for the US.76
                   • Hospital IQ has a dashboard that forecasts hospital and ICU admissions for each county in the US.
                      Relies in part on IHME forecasts.190
                   • COVID Act Now: State and county-level dashboard focused on re-opening strategies, showing trends in
                      four metrics related to COVID-19 risk (change in cases, total testing capacity, fraction of positive tests,
                      and availability of ICU beds). Fundamentally uses an SEIR model fit to observed data. 303
   What do we       Forecasts differ in how they handle public health interventions such as shelter-in-place orders and
   need to know?    tracking how methods change in the near future will be important for understanding limitations going
                    forward.



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  Table 1. Definitions of commonly-used acronyms

   Acronym/Term                     Definition                                          Description

                                                            Acts as a receptor for SARS-CoV and SARS-CoV-2, allowing entry
        ACE2          Angiotensin-converting enzyme 2
                                                            into human cells
       Airborne       Aerosolization of infectious          Aerosolized particles can spread for long distances (e.g., between
     transmission     particles                             hospital rooms via HVAC systems). Particles generally <5 μm.
                      Acute respiratory distress            Leakage of fluid into the lungs which inhibits respiration and leads
        ARDS
                      syndrome                              to death
                                                            Defined in terms of “at-risk” population such as schools or
                      Proportion of “at-risk” individuals   households, defines the proportion of individuals in those
      Attack rate
                      who develop infection                 populations who become infected after contact with an infectious
                                                            individual
         CCV          Canine coronavirus                    Canine coronavirus
         CFR          Case Fatality Rate                    Number of deaths divided by confirmed patients
                                                            Virus typified by crown-like structures when viewed under
         CoV          Coronavirus
                                                            electron microscope
      COVID-19        Coronavirus disease 19                Official name for the disease caused by the SARS-CoV-2 virus.
        Droplet                                             Transmission via droplets requires relatively close contact (e.g.,
                      Sneezing, coughing
     transmission                                           within 6 feet)
                      Enzyme-linked immunosorbent
        ELISA                                               Method for serological testing of antibodies
                      assay
                                                            Surfaces such as hospital beds, doorknobs, healthcare worker
        Fomite        Inanimate vector of disease
                                                            gowns, faucets, etc.
         HCW          Healthcare worker                     Doctors, nurses, technicians dealing with patients or samples
                                                            Time between infection and onset of symptoms typically
      Incubation      Time between infection and
                                                            establishes guidelines for isolating patients before transmission is
        period        symptom onset
                                                            possible
                                                            Reducing the infectious period is a key method of reducing overall
      Infectious      Length of time an individual can
                                                            transmission; hospitalization, isolation, and quarantine are all
        period        transmit infection to others
                                                            effective methods
                                                            Simulates inhalation exposure by depositing liquid solution of
                      Agent deposited into external
      Intranasal                                            pathogen/virus into the nose of a test animal, where it is then
                      nares of subject
                                                            taken up by the respiratory system.
        MERS          Middle-East Respiratory Syndrome      Coronavirus with over 2,000 cases in regional outbreak since 2012
         MHV          Mouse hepatitis virus                 Coronavirus surrogate
                      Healthcare- or hospital-associated    Characteristic of SARS and MERS outbreaks, lead to refinement of
     Nosocomial
                      infections                            infection control procedures
                                                            PCR (or real-time [RT] or quantitative [Q] PCR) is a method of
                                                            increasing the amount of genetic material in a sample, which is
         PCR          Polymerase chain reaction
                                                            then used for diagnostic testing to confirm the presence of SARS-
                                                            CoV-2
                                                            Measurement of the number of infectious virus particles as
         PFU          Plaque forming unit                   determined by plaque forming assay. A measurement of sample
                                                            infectivity.
                                                            Gowns, masks, gloves, and any other measures used to prevent
         PPE          Personal protective equipment
                                                            spread between individuals
                                                            A measure of transmissibility. Specifically, the average number of
          R0          Basic reproduction number             new infections caused by a typical infectious individual in a wholly
                                                            susceptible population.




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   Acronym/Term                    Definition                                           Description

                      Severe Acute Respiratory
        SARS                                               Coronavirus with over 8,000 cases in global 2002-2003 outbreak
                      Syndrome
                      Severe acute respiratory
     SARS-CoV-2                                            Official name for the virus previously known as 2019-nCoV.
                      syndrome coronavirus 2
                                                           A type of modeling that incorporates the flow of people between
                      Susceptible (S), exposed (E),
         SEIR                                              the following states: susceptible (S), exposed (E), infected (I), and
                      infected (I), and resistant (R)
                                                           resistant (R), and is being used for SARS-CoV-2 forecasting
                      Length of time between symptom
                                                           The serial interval can be used to estimate R0, and is useful for
    Serial interval   onset of successive cases in a
                                                           estimating the rate of outbreak spread
                      transmission chain
                                                           A type of modeling that incorporates the flow of people between
                      Susceptible (S), infected (I), and
         SIR                                               the following states: susceptible (S), infected (I), and resistant (R),
                      resistant (R)
                                                           and is being used for SARS-CoV-2 forecasting
                                                           The number of infectious units which will infect 50% of tissue
        TCID50        50% Tissue Culture Infectious Dose
                                                           culture monolayers. A measurement of sample infectivity.
                                                           In this case, animal models modified to be more susceptible to
     Transgenic       Genetically modified                 MERS and/or SARS by adding proteins or receptors necessary for
                                                           infection




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